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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAII

   GRAHAM T. CHELIUS, M.D., et al.,          CIV. NO. 1:17-00493 JAO-RT
                      Plaintiffs,            JOINT STATUS REPORT
               v.                            District Judge: Jill A. Otake
                                             Summary Judgment Hearing: Vacated
                                             per Dkt. 149
   XAVIER BECERRA, J.D., in his
                                             Trial Date: Vacated per Dkt. 82
   official capacity as SECRETARY,
   U.S. D.H.H.S., et al.,
                       Defendants.
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        Pursuant to this Court’s May 7, 2021 Order Granting Joint Motion to Stay

  Case Pending Agency Review (Dkt. 149), the Parties submit the following status

  update:

        As stated in the Joint Motion to Stay Case Pending Agency Review (Dkt.

  148), and again in the August 5, 2021 Joint Status Report (Dkt. 151), Defendant

  U.S. Food and Drug Administration (“FDA”) is reviewing the elements of the risk

  evaluation and mitigation strategy (“REMS”) for Mifeprex and its approved

  generic, Mifepristone Tablets, 200 mg, in accordance with the REMS assessment

  provisions of Section 505-1 of the Federal Food, Drug, and Cosmetic Act. In

  conducting this review, FDA is relying on information submitted by the sponsors

  of the new drug application and the abbreviated new drug application, information

  from other sources (including published literature), and any relevant data and

  evidence submitted by the Plaintiffs.

        FDA has been working diligently to conduct this review, will continue to do

  so, and anticipates completing its review by December 16, 2021. FDA will

  communicate the agency’s determinations to Plaintiffs upon completion of FDA’s

  review. In order to give the Parties time to determine appropriate next steps in this

  litigation, the Parties request an extension of the current stay until January 14,

  2022. If FDA’s review of the REMS, and implementation of any changes to the

  REMS that result from such review, are not completed before the expiration of the


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  COVID-19 Public Health Emergency (“PHE”), FDA agrees that it intends to

  exercise its enforcement discretion with respect to the in-person dispensing

  requirement of the mifepristone REMS (see Dkt. 148, at 2-3) for a further 30 days

  following the end of the PHE.



  Dated: November 3, 2021
                                          Respectfully submitted,

                                          /s/ Jonathan E. Amgott
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                                          Secretary, U.S. Department of Health
                                          and Human Services; U.S. Food and
                                          Drug Administration; and Janet
                                          Woodcock, M.D., in her official
                                          capacity as Acting Commissioner of
                                          Food and Drugs

                                          /s/ Julia Kaye
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